AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
   UNITED STATES OF AMERICA                                            )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Revocation of Probation or Supervised Release)
               V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                       )
   CORY TWAN RICHARDSON                                                )   Case Number: DNCW102CR00105-011
                                                                       )   USM Number: 74783-004
                                                                       )
                                                                       )   Robert Charles Carpenter
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
☒ Admitted guilt to violation of condition 4 of the term of supervision.
☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation                                                                                                  Date Violation
Number           Nature of Violation                                                                       Concluded
     4           DRUG/ALCOHOL USE                                                                           3/13/2013

       The Court declines to revoke the supervised release of the Defendant based on this violation, and continues the
Defendant on the term of Supervised Release previously imposed on the same terms and conditions as previously
imposed.

☐      The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.
☒      Violation(s) 1, 2 & 3 are dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                 Date of Imposition of Sentence: 11/25/2013




                                                                                 Date: December 10, 2013




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